                         Case 20-15116-nmc                 Doc 1        Entered 10/13/20 13:35:29                   Page 1 of 70


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Full Conceal Inc

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA FC Arms
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  175 Cassia Way Suite A1114                                      4651 Valley Vista Drive
                                  Henderson, NV 89014                                             Dublin, CA 94568
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Clark                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.fullconceal.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 20-15116-nmc                      Doc 1       Entered 10/13/20 13:35:29                       Page 2 of 70
Debtor    Full Conceal Inc                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                        Case 20-15116-nmc                    Doc 1         Entered 10/13/20 13:35:29                    Page 3 of 70
Debtor   Full Conceal Inc                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 20-15116-nmc                  Doc 1        Entered 10/13/20 13:35:29                       Page 4 of 70
Debtor    Full Conceal Inc                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 13, 2020
                                                  MM / DD / YYYY


                             X   /s/ Michael Full                                                         Michael Full
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Robert Atkinson                                                       Date October 13, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert Atkinson 9958
                                 Printed name

                                 Atkinson Law Associates Ltd.
                                 Firm name

                                 376 E Warm Springs Rd Suite 130
                                 Las Vegas, NV 89119
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (702) 614-0600                Email address      bknotices@nv-lawfirm.com

                                 9958 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 5 of 70
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 6 of 70
                          Case 20-15116-nmc                          Doc 1        Entered 10/13/20 13:35:29                  Page 7 of 70




 Fill in this information to identify the case:

 Debtor name         Full Conceal Inc

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 13, 2020                        X /s/ Michael Full
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Full
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                              Case 20-15116-nmc                                    Doc 1              Entered 10/13/20 13:35:29                                           Page 8 of 70

 Fill in this information to identify the case:

 Debtor name            Full Conceal Inc

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        1,900,999.16

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,900,999.16


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           254,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           120,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           339,448.45


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             713,448.45




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                          Case 20-15116-nmc                          Doc 1   Entered 10/13/20 13:35:29                Page 9 of 70

 Fill in this information to identify the case:

 Debtor name         Full Conceal Inc

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase                                                    Business checking              3126                                       $300.00




           3.2.     Chase                                                    Business savings               7119                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $300.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment
                    Prepayment for services - Accounting Services (SF Bay Tax - Accountant) - prepaid for
           8.1.     2020 corporate tax return                                                                                                        $6,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                         Case 20-15116-nmc                           Doc 1       Entered 10/13/20 13:35:29                    Page 10 of 70

 Debtor           Full Conceal Inc                                                                     Case number (If known)
                  Name


                    Prepayment for services - Google Email and Vault (preserving email history - 12 months
           8.2.     @ $100/month)                                                                                                                   $1,200.00




 9.        Total of Part 2.                                                                                                                     $7,200.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                                    40,382.32    -                           20,191.16 =....                     $20,191.16
                                              face amount                                doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                   $20,191.16
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last                Net book value of         Valuation method used   Current value of
                                                      physical inventory              debtor's interest         for current value       debtor's interest
                                                                                      (Where available)

 19.       Raw materials

 20.       Work in progress
           571 Firearms / Frames
           (some WIP, some
           demos, some finished
           goods)                                                                                    $0.00      Replacement                         Unknown



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Accessories (demo units
           / trade show items)                                                                       $0.00                                          Unknown


           T-shirts and swag for
           trade shows                                                                               $0.00                                          $1,000.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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                        Case 20-15116-nmc                            Doc 1     Entered 10/13/20 13:35:29               Page 11 of 70

 Debtor         Full Conceal Inc                                                                  Case number (If known)
                Name


 23.       Total of Part 5.                                                                                                              $1,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                        Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                    Net book value of      Valuation method used   Current value of
                                                                                  debtor's interest      for current value       debtor's interest
                                                                                  (Where available)

 39.       Office furniture
           Apartment Furniture (2x beds and 2x bed
           frames, 1x piano, 1x couch, 1x table, 3x chairs,
           2x cabinets)
           Location: 4525 Dean Martin Dr Apt 1212, Las
           Vegas NV 89103                                                                       $0.00    Liquidation                         $1,000.00


           2 tables, 4 racks                                                                    $0.00                                          $200.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Laptop, monitor
           Location: 4525 Dean Martin Dr Apt 1212, Las
           Vegas NV 89103                                                                       $0.00    Liquidation                         Unknown


           2 computer monitors, scanner, video system,
           thermal printer                                                                      $0.00                                        $1,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Boring Company Flame Thrower                                              $0.00                                             Unknown


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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                        Case 20-15116-nmc                            Doc 1   Entered 10/13/20 13:35:29            Page 12 of 70

 Debtor         Full Conceal Inc                                                               Case number (If known)
                Name




 43.        Total of Part 7.                                                                                                             $2,200.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used   Current value of
            Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
            (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Collet, portable refractor, telescoping gauge, 2
            calipers, grinder, 3 edge stops, touch probe,
            height gauge                                                                     $0.00                                        $1,000.00




 51.        Total of Part 8.                                                                                                          $1,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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                        Case 20-15116-nmc                            Doc 1   Entered 10/13/20 13:35:29              Page 13 of 70

 Debtor         Full Conceal Inc                                                               Case number (If known)
                Name


        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used   Current value of
                                                                               debtor's interest      for current value       debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            US Patent (No. 10,274,276) - Folding Handgun                                     $0.00    Liquidation                      $500,000.00


            US Patent (No. 10,488,132) - Safety Trigger                                      $0.00    Liquidation                         Unknown


            Patent pending - Application Serial No.:
            16/745,399
            Magazine Retention Device with Integrated
            Aiming System                                                                    $0.00                                        Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties
            FFL (Federal Firearm License) manufacturer's
            license from U.S. Bureau of ATF
            Lic. no. 9-88-003-07-3E-04815                                                    $0.00                                              $0.00



 63.        Customer lists, mailing lists, or other compilations
            Marketing list via MailChimp                                                     $0.00                                        Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                       $500,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                              Current value of
                                                                                                                              debtor's interest


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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                        Case 20-15116-nmc                            Doc 1     Entered 10/13/20 13:35:29         Page 14 of 70

 Debtor         Full Conceal Inc                                                             Case number (If known)
                Name

 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           Net operating losses as of Dec 31, 2019                                             Tax year 2019                      $1,230,370.00



 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Litigation claims against business partner Steve
           Pantalemon                                                                                                                   Unknown
           Nature of claim          Litigation claims
           Amount requested                             $0.00


           Clawback claims against former business partner Steve
           Pantalemon
           Eighth District Court, Clark County Case no.
           A-20-813641-C                                                                                                              $78,738.00
           Nature of claim
           Amount requested                                                  $0.00


           Claim relating to selling a VM3 machine for $13,000 less
           than market value                                                                                                          $13,000.00
           Nature of claim           Litigation claims
           Amount requested                             $0.00


           Litigation claims against Full Conceal Mfg LLC, Mitch
           Grief, and/or Leeor Engelstein                                                                                               Unknown
           Nature of claim          Litigation claims
           Amount requested                             $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Funds sitting in escrow relating to the sale of a VM3
           machine                                                                                                                    $47,000.00




 78.       Total of Part 11.                                                                                                     $1,369,108.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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                          Case 20-15116-nmc                             Doc 1            Entered 10/13/20 13:35:29                            Page 15 of 70

 Debtor          Full Conceal Inc                                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $300.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                   $7,200.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                     $20,191.16

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $1,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,200.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $1,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $500,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $1,369,108.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,900,999.16            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,900,999.16




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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                          Case 20-15116-nmc                          Doc 1       Entered 10/13/20 13:35:29                  Page 16 of 70

 Fill in this information to identify the case:

 Debtor name          Full Conceal Inc

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
        American Express National
 2.1                                                                                                                       $254,000.00                  Unknown
        Bank                                          Describe debtor's property that is subject to a lien
        Creditor's Name                               Blanket lien
        c/o: Datamark Inc.
        Attn: Merchant Financing
        Counsel
        43 Butterfield Circle
        EL Paso, TX 79906
        Creditor's mailing address                    Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        March 2020                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        2100
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $254,000.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                        Case 20-15116-nmc                            Doc 1          Entered 10/13/20 13:35:29                            Page 17 of 70

 Fill in this information to identify the case:

 Debtor name         Full Conceal Inc

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $120,000.00          $13,650.00
           Michael Full                                              Check all that apply.
           4651 Valley Vista Dr                                         Contingent
           Dublin, CA 94568                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           March 2019 to April 2020                                  Deferred Salary
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $449.00
           Abide Armory                                                                Contingent
           3009B N State Route 89                                                      Unliquidated
           Prescott, AZ 86301                                                          Disputed
           Date(s) debt was incurred 2020
                                                                                   Basis for the claim:     Customer - order not shipped
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                        $44.00
           Adam Thomas                                                                 Contingent
           3390 Abbie ln                                                               Unliquidated
           Battle mountain, NV 89820                                                   Disputed
           Date(s) debt was incurred 2020
                                                                                   Basis for the claim:     Customer - order not shipped
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?           No   Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 18 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Advanced Weapons                                                      Contingent
          2149 Freemont Dr                                                      Unliquidated
          Canon City, CO 81212                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Alex Harding                                                          Contingent
          497 Melvin Avenue                                                     Unliquidated
          Morrisville, PA 19067                                                 Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.00
          Alex Martin                                                           Contingent
          9212 se retreat dr                                                    Unliquidated
          hobe sound, FL 33455                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $598.00
          Alhareth AlSalman                                                     Contingent
          23314 nocturnal ct                                                    Unliquidated
          Katy, TX 77493                                                        Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          ANDREW DORMAN                                                         Contingent
          Papa Foxtrot Tactical LLC 2303 Highway 1                              Unliquidated
          Galivants Ferry, SC 29544-6831                                        Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,429.00
          Andrew Hernandez                                                      Contingent
          14025 Fairway Island Dr. 325                                          Unliquidated
          Orlando, FL 32837                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Andrew Obrist                                                         Contingent
          4938 Juno Road                                                        Unliquidated
          Virginia Beach, VA 23455                                              Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 19 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.00
          Andrew Papp                                                           Contingent
          112 Beaumont dr                                                       Unliquidated
          Dahlonega, GA 30533                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Andrew Waller                                                         Contingent
          3241 South Mount Carmel Avenue                                        Unliquidated
          Wichita, KS 67217                                                     Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Anthony Cellana                                                       Contingent
          KT Arms LLC 291 NW 48th Ave                                           Unliquidated
          DEERFIELD BEACH, FL 33442                                             Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349.00
          Apple & Sons Saunders Ace Hardware                                    Contingent
          202 PIEDMONT ST                                                       Unliquidated
          REIDSVILLE, NC 27320                                                  Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Arianna Monin                                                         Contingent
          3661 Glasstop Dr                                                      Unliquidated
          Las Vegas, NV 89141                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Arrow Security Inc.                                                   Contingent
          15410 N 67 Ave                                                        Unliquidated
          Glendale, AZ 85306                                                    Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Ben Bushong                                                           Contingent
          427 Hannah Road                                                       Unliquidated
          Daleville, AL 36322                                                   Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 20 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $61,280.00
          Bill Hicks                                                            Contingent
          15155 23rd Avenue North                                               Unliquidated
          Plymouth, MN 55447                                                    Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $475.00
          Bloodhound Arms, LLC                                                  Contingent
          140 Commonwealth Drive                                                Unliquidated
          Warrendale, PA 15086                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $269.00
          Brandon Barbee                                                        Contingent
          PO Box 456                                                            Unliquidated
          Center, TX 75935                                                      Disputed
          Date(s) debt was incurred      03/26/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $949.00
          Brandon Carriere                                                      Contingent
          4435 MEADOW BROOK WAY                                                 Unliquidated
          Lake Charles, LA 70607                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,347.00
          Brandon Yanskey                                                       Contingent
          520 Geary Dr                                                          Unliquidated
          Rockwall, TX 75087                                                    Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Brian Barmmer                                                         Contingent
          entensiv 68 Virginia Farme Ln                                         Unliquidated
          Carlisle, MA 01741                                                    Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Brian Wensel                                                          Contingent
          4109 S Roberts Rd                                                     Unliquidated
          Fort Mohave, AZ 86426                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 21 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Bryan Oudomsouk                                                       Contingent
          504 Lutie CT                                                          Unliquidated
          Nashville, TN 37210                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349.00
          Carl Guething                                                         Contingent
          1700 W 67th Ave                                                       Unliquidated
          Denver, CO 80221                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Carlton McCord                                                        Contingent
          27845 Moran St                                                        Unliquidated
          Harrison Township, MI 48045                                           Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Charles Butkus                                                        Contingent
          3833 Peachtree Rd Ne Apt 1506                                         Unliquidated
          Brookhaven, GA 30319                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.00
          Charles Moore                                                         Contingent
          6216 south lagoon Dr.                                                 Unliquidated
          Panama city bea, FL 32408                                             Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Chris Culross                                                         Contingent
          75 Center St                                                          Unliquidated
          Laramie, WY 82072                                                     Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.00
          Christopher Galan                                                     Contingent
          157 Doris Dr                                                          Unliquidated
          Universal city, TX 78148                                              Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 22 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Christopher Kam                                                       Contingent
          267 Mokauea st                                                        Unliquidated
          Honolulu, HI 96819                                                    Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.00
          Christopher Liston                                                    Contingent
          15 Mill Street                                                        Unliquidated
          Mays Landing, NJ 08330                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Christopher Meyer                                                     Contingent
          713 Virginia Ave                                                      Unliquidated
          Gallatin, TN 37066                                                    Disputed
          Date(s) debt was incurred      04/03/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Christopher Polhemus                                                  Contingent
          419 Abigail Street                                                    Unliquidated
          Ridgecrest, CA 93555                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Christopher Sofich                                                    Contingent
          8717 SE Monterey Ave Unit 209                                         Unliquidated
          Portland, OR 97086                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Citibank, N.A.                                                        Contingent
          Attn: Centralized Bankruptcy                                          Unliquidated
          PO Box 20507                                                          Disputed
          Kansas City, MO 64195
                                                                             Basis for the claim:    Business credit card
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.00
          Collin Orizu                                                          Contingent
          989 S Buchanan St Unit 210                                            Unliquidated
          Arlington, VA 22204                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 23 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CV Property Management                                                Contingent
          4520 36th Ave S                                                       Unliquidated
          Fargo, ND 58104
                                                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:    Former Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Dallas Hill                                                           Contingent
          1979 12212 Anne Kenia Dr.                                             Unliquidated
          Thonotosassa, FL 33592                                                Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Dan Kremer                                                            Contingent
          3839 Treebrook Dr                                                     Unliquidated
          Imperial, MO 63052                                                    Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Danele Williams                                                       Contingent
          1117 South Bloodworth Street                                          Unliquidated
          Raleigh, NC 27601                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Daniel Crall                                                          Contingent
          59 Hathorn Blvd.                                                      Unliquidated
          Saratoga Springs, NY 12866                                            Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Daniel Gambella                                                       Contingent
          5 Ladder Court                                                        Unliquidated
          Huntington, NY 11743                                                  Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Daniel Nelson                                                         Contingent
          Address unknown                                                       Unliquidated
          Date(s) debt was incurred      2020                                   Disputed
          Last 4 digits of account number                                    Basis for the claim:    Customer - order not shipped
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 24 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.00
          Daniel Sotelo                                                         Contingent
          3108 W LOUISIANA AVE                                                  Unliquidated
          Midland, TX 79701                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $98.00
          Darren Harrell                                                        Contingent
          131 Jowers Road                                                       Unliquidated
          West Monroe, LA 71291                                                 Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Darren Harrell                                                        Contingent
          131 Jowers Road                                                       Unliquidated
          West Monroe, LA 71291                                                 Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          dave licht                                                            Contingent
          6735 cascade manor dr                                                 Unliquidated
          sugar land, TX 77479                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          David Cathcart                                                        Contingent
          6200 Pershing Ave Apt 378                                             Unliquidated
          Fort Worth, TX 76116                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          David Harris                                                          Contingent
          10004 Wurzbach Rd #321                                                Unliquidated
          San Antonio, TX 78230                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Derek Holbrook                                                        Contingent
          P.O. Box 455                                                          Unliquidated
          Oak Harbor, WA 98277                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 25 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,694.00
          Desert Weaponry                                                       Contingent
          11364 E Prince Rd                                                     Unliquidated
          Tucson, AZ 85749                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Dillon Point                                                          Contingent
          575 State Route 37                                                    Unliquidated
          Akwesasne, NY 13655                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349.00
          Doug Wight (Gold Ring Pawn)                                           Contingent
          445 Main St                                                           Unliquidated
          Silt, CO 81652                                                        Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.00
          Dre Mill                                                              Contingent
          2666 morrow place                                                     Unliquidated
          Cincinnati, OH 45204                                                  Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,260.00
          Dutch Hillelburg                                                      Contingent
          7039 Signal Hill Rd                                                   Unliquidated
          Manassas, VA 20111                                                    Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Eddie Colameta                                                        Contingent
          495 Broadway                                                          Unliquidated
          Malden, MA 02148                                                      Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.00
          Eddie E Walker Jr                                                     Contingent
          468 Oak Ridge Estates                                                 Unliquidated
          Murphy, NC 28906                                                      Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 26 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Eion Hughes                                                           Contingent
          274 Elkins Road                                                       Unliquidated
          Rogersville, TN 37857                                                 Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Elite Firearms                                                        Contingent
          6985 W Sahara Ave                                                     Unliquidated
          Las Vegas, NV 89117                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162.83
          Endicia                                                               Contingent
          323 N Mathilda Ave                                                    Unliquidated
          Sunnyvale, CA 94085                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Eric Berrett                                                          Contingent
          3305 Westwood Industrial Dr                                           Unliquidated
          Monroe, NC 28110                                                      Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $589.00
          Eric Hernandez                                                        Contingent
          635 Voiles Street                                                     Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $598.00
          ERICH VINCENT                                                         Contingent
          PO BOX 23666                                                          Unliquidated
          PLEASANT HILL, CA 94523                                               Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Erik Fortin                                                           Contingent
          568 Station Road                                                      Unliquidated
          Mount Holly, VT 05758                                                 Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 27 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          ETS                                                                   Contingent
          PO Box 2889                                                           Unliquidated
          South Bend, IN 46680
                                                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349.00
          Frank Hodne                                                           Contingent
          8174 N Union Church Rd                                                Unliquidated
          Milford, DE 19963                                                     Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,347.00
          Frog Bones Family Shooting Center                                     Contingent
          404 S Harbor City Blvd                                                Unliquidated
          Melbourne, FL 32901                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          George Turner                                                         Contingent
          G.O.T. Fitness                                                        Unliquidated
          Pottstown, PA 19464                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349.00
          Greg Conran                                                           Contingent
          20538 Tanager Place                                                   Unliquidated
          Leesburg, VA 20175                                                    Disputed
          Date(s) debt was incurred      04/03/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105.00
          Greg Komassa                                                          Contingent
          1116 Harding Road                                                     Unliquidated
          Anthony, NM 88021                                                     Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Gregory Conran                                                        Contingent
          20538 tanager place                                                   Unliquidated
          Leesburg, VA 20175                                                    Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 28 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.00
          Herbert Pan                                                           Contingent
          415 Cloverdale Ln                                                     Unliquidated
          Walnut, CA 91789                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Howard & Howard Attorneys PLLC                                        Contingent
          3800 Howard Hughes Pkwy #1000                                         Unliquidated
          Las Vegas, NV 89169                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Howard Steven Leight                                                  Contingent
          3200 Airport Ave                                                      Unliquidated
          Santa Monica, CA 90405                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $579.00
          Iho Tree                                                              Contingent
          2754 Richardson St                                                    Unliquidated
          Fitchburg, WI 53711                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.00
          Isaiah Warren                                                         Contingent
          42 Rose Hill Dr.                                                      Unliquidated
          Jackson, TN 38301                                                     Disputed
          Date(s) debt was incurred      04/03/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $96.00
          Jack Crouch                                                           Contingent
          6063 Via De Los Arboles                                               Unliquidated
          El Paso, TX 79932                                                     Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          James Alaniz                                                          Contingent
          11708 W Red Hawk Dr                                                   Unliquidated
          Peoria, AZ 85385                                                      Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 29 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $378.00
          James Carte                                                           Contingent
          16355 East Brown dr                                                   Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          James Jones                                                           Contingent
          44 Summerfield Dr.                                                    Unliquidated
          FISHERSVILLE, VA 22939                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76.82
          James Plante                                                          Contingent
          2620 South Maryland Parkway                                           Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          James Rodriguez                                                       Contingent
          pathway communications 520 linda dr Apt.                              Unliquidated
          San Marcos, TX 78666                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Jason Allmon                                                          Contingent
          7800 Mockingbird Lane lot 123                                         Unliquidated
          North Richland Hills, TX 76180                                        Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Jason Staads                                                          Contingent
          3247 Central Ave NE                                                   Unliquidated
          Minneapolis, MN 55418                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Jason Thiede                                                          Contingent
          532 South Miami Street                                                Unliquidated
          West Milton, OH 45383                                                 Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 30 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $579.00
          Jeff Schabowski                                                       Contingent
          W225 S4839 Guthrie Rd                                                 Unliquidated
          Waukesha, WI 53189                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Jeffrey Smith                                                         Contingent
          Quick splash mobile car wash                                          Unliquidated
          Hampton, GA 30228                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Joe Hess                                                              Contingent
          2201 Ramsgate Dr                                                      Unliquidated
          Henderson, NV 89074                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $546.00
          Joe Taylor                                                            Contingent
          PO Box 73                                                             Unliquidated
          Spillville, IA 52168                                                  Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          John Barnes                                                           Contingent
          1230 Lumpkin Rd                                                       Unliquidated
          Houston, TX 77043                                                     Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.00
          John Lawrentz                                                         Contingent
          7400 State Route 685                                                  Unliquidated
          Glouster, OH 45732-9298                                               Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.00
          John Wylie                                                            Contingent
          2709 North Benton Place                                               Unliquidated
          Oak Harbor, WA 98277                                                  Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 14 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 31 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Jon Conger                                                            Contingent
          3942 w 79th street                                                    Unliquidated
          Indianapolis, IN 46268                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          jordan bryant                                                         Contingent
          2342 castlecomer dr                                                   Unliquidated
          Charlotte, NC 28262                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.00
          Jordan Pries                                                          Contingent
          917 WASHINGTON AVE                                                    Unliquidated
          Bay city, MI 48708                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Jose Avila                                                            Contingent
          908 N Inglewood ave, Apt. 4                                           Unliquidated
          Inglewood, CA 90302                                                   Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          joshua gordon                                                         Contingent
          4971 nw ever road                                                     Unliquidated
          port saint lucie, FL 34983                                            Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Joshua Miranda                                                        Contingent
          603 205th st E.                                                       Unliquidated
          spanaway, WA 98387                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Jr HOLYFIELD                                                          Contingent
          38 Lynn Drive                                                         Unliquidated
          Oxford, AL 36203                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 15 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 32 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Kelvin Joseph                                                         Contingent
          6019 103rd street                                                     Unliquidated
          Lubbock, TX 79424                                                     Disputed
          Date(s) debt was incurred      04/03/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $579.00
          Kevin Geiling                                                         Contingent
          28920 NE 124th ST                                                     Unliquidated
          Duvall, WA 98019                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          KEVIN MCKAY                                                           Contingent
          6940 REGATTA DR                                                       Unliquidated
          GRAND PRAIRIE, TX 75054                                               Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Marc Aucoin                                                           Contingent
          608 Mardi Gras Ln                                                     Unliquidated
          Port allen, LA 70767                                                  Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Marcus Trejo                                                          Contingent
          2112 East william Cannon Dr                                           Unliquidated
          Austin, TX 78744                                                      Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Maria Bracamonte                                                      Contingent
          6265 avenue Juan Diaz                                                 Unliquidated
          Jurupa Valley, CA 92509                                               Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.00
          Mark Elwood                                                           Contingent
          325 Gran Ave                                                          Unliquidated
          Homewood, AL 35209                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 16 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 33 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $59.00
          Matt Oamilda                                                          Contingent
          Atlas industrial 92-508 Awawa St                                      Unliquidated
          KAPOLEI, HI 96707                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Matt Palmer                                                           Contingent
          1306 West Mount Drive                                                 Unliquidated
          Fircrest, WA 98466                                                    Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Matthew Hagopian                                                      Contingent
          45 Ash Street                                                         Unliquidated
          Reading, MA 01867                                                     Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Matthew Mumford                                                       Contingent
          8 Wallnut St                                                          Unliquidated
          Warren, PA 16365                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Matthew Vangaasbeck                                                   Contingent
          2968 Campbell St                                                      Unliquidated
          Baker City, OR 97814                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.00
          Michael Adams                                                         Contingent
          10705 Elk Lake Drive                                                  Unliquidated
          Las Vegas, NV 89144                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          michael cramer                                                        Contingent
          241 Brookfield Ave                                                    Unliquidated
          Staten Island, NY 10308                                               Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 17 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 34 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $147,000.00
          Michael Full                                                          Contingent
          4651 Valley Vista Dr.                                                 Unliquidated
          Dublin, CA 94568                                                      Disputed
          Date(s) debt was incurred      2017-2019                           Basis for the claim:    Loans to company
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          michael juodzevich                                                    Contingent
          2143 Ridge Street                                                     Unliquidated
          Yorktown Heights, NY 10598                                            Disputed
          Date(s) debt was incurred 03/30/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $598.00
          Michael Rynearson                                                     Contingent
          1646 El Dorado Way                                                    Unliquidated
          Redding, CA 96002                                                     Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Michael Wagner                                                        Contingent
          225 Fallon Road, #339                                                 Unliquidated
          Stoneham, MA 02180                                                    Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Miguel Guzman                                                         Contingent
          6249 tackawanna st                                                    Unliquidated
          Philadelphia, PA 19135                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Mitchell Smith-Long                                                   Contingent
          1805 SE Clay St                                                       Unliquidated
          Albany, OR 97322                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Mongoose Armory                                                       Contingent
          2600 North Glen DR                                                    Unliquidated
          Clover, NM 88101                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 18 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 35 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.00
          Nate Norris                                                           Contingent
          9378 S Mason Montgomery Rd, Suite 231 Pm                              Unliquidated
          Mason, OH 45040                                                       Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Nathan LeRoy                                                          Contingent
          1051 50th street drive                                                Unliquidated
          La Porte City, IA 50651                                               Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Nathan Wright                                                         Contingent
          2475 Culpepper Ln                                                     Unliquidated
          China Spring, TX 76633                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.00
          Nathaniel Lunders                                                     Contingent
          776 South 18th Street                                                 Unliquidated
          Columbus, OH 43206                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,000.00
          NewTek Merchant Solutions                                             Contingent
          4650 N. Port Washington Road                                          Unliquidated
          Milwaukee, WI 53212-1059                                              Disputed
          Date(s) debt was incurred 2020
                                                                                            Credit card processing vendor
                                                                             Basis for the claim:
          Last 4 digits of account number                                    [disputed charges / refunds owed on products not shipped by Full
                                                                             Conceal Mfg LLC]
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Oleg Carrasco                                                         Contingent
          299 Smithridge park 299                                               Unliquidated
          Reno, NV 89502                                                        Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $950.00
          On target range and guns                                              Contingent
          Bullseye range                                                        Unliquidated
          1151 S Cedar Ridge Dr                                                 Disputed
          Duncanville, TX 75137
                                                                             Basis for the claim:    Customer - order not shipped
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 19 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 36 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Owen Margeson                                                         Contingent
          1833 South Ocean Drive Unit 201                                       Unliquidated
          Hallandale Beach, FL 33009                                            Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $333.00
          P3 Tactical LLC                                                       Contingent
          6981 40th Ave                                                         Unliquidated
          Hudsonville, MI 49426                                                 Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          PARVINDER SETHI                                                       Contingent
          1964 GARDNER CIR E                                                    Unliquidated
          Aurora, IL 60503                                                      Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $393.00
          Patrick Moran                                                         Contingent
          7918 Restless Wind                                                    Unliquidated
          San Antonio, TX 78250-4739                                            Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $94.80
          Paul Prasarn                                                          Contingent
          615 Owego Road                                                        Unliquidated
          Candor, NY 13743                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Paul Royer                                                            Contingent
          16149 E Montana Pl                                                    Unliquidated
          Aurora, CO 80017                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Pete O'Heeron                                                         Contingent
          17006 Evergreen Elm Way                                               Unliquidated
          Houston, TX 77059                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 20 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 37 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $349.00
          Peter Duran                                                           Contingent
          40291 W. Lococo St.                                                   Unliquidated
          Maricopa, AZ 85138                                                    Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,196.00
          Peter Lieu                                                            Contingent
          1118 18th st                                                          Unliquidated
          Oakland, CA 94607                                                     Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Philip Tree                                                           Contingent
          2754 Richardson Street                                                Unliquidated
          Fitchburg, WI 53711                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,347.00
          Point Blank Range/ Matthews                                           Contingent
          10726 Monroe Rd                                                       Unliquidated
          Matthews, NC 28105                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $999.00
          Pongsakorn Vaivong                                                    Contingent
          11915 Casparis                                                        Unliquidated
          San Antonio, TX 78254                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Richard Cummings                                                      Contingent
          424 Loudon Road                                                       Unliquidated
          Loudonville, NY 12211                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Rick Murff                                                            Contingent
          2210 N Lema Dr                                                        Unliquidated
          Mesa, AZ 85215                                                        Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 21 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 38 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.00
          Rob Hogle                                                             Contingent
          3195 Dayton Xenia Road Ste 900-183                                    Unliquidated
          Beavercreek, OH 45434                                                 Disputed
          Date(s) debt was incurred 03/27/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $550.00
          Rob Hogle                                                             Contingent
          3195 Dayton Xenia Road Ste 900-183                                    Unliquidated
          Beavercreek, OH 45434                                                 Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Robert Gemar                                                          Contingent
          415 North 3826 East                                                   Unliquidated
          Rigby, ID 83442                                                       Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $399.00
          Robert Gittings                                                       Contingent
          24 West Camelback Road #244                                           Unliquidated
          Phoenix, AZ 85013                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Robert Perez                                                          Contingent
          Address unknown                                                       Unliquidated
          Date(s) debt was incurred      2020                                   Disputed
          Last 4 digits of account number                                    Basis for the claim:    Customer - order not shipped
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,347.00
          Rocky Mountain Pawn                                                   Contingent
          875 E Bridge St                                                       Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Rodrigo Alvarez                                                       Contingent
          1994 1484 Kimball place                                               Unliquidated
          Manteca, CA 95336                                                     Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 22 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 39 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Ron Bernstein                                                         Contingent
          8175 Arville St                                                       Unliquidated
          Las Vegas, NV 89139                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Ron Kontowsky                                                         Contingent
          15850 27 Mile Road                                                    Unliquidated
          Ray, MI 48096                                                         Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,047.00
          Scott's Pawn & Jewelry                                                Contingent
          873 1st St N                                                          Unliquidated
          Alabaster, AL 35007                                                   Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Shawn Hoang                                                           Contingent
          903 Highridge Ln.                                                     Unliquidated
          Kent, OH 44240                                                        Disputed
          Date(s) debt was incurred      04/03/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Shawn Oritz                                                           Contingent
          7054 Azure Beach st                                                   Unliquidated
          Las Vegas, NV 89148                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Sherwyn Greenfield                                                    Contingent
          2271 165th St                                                         Unliquidated
          Spirit Lake, IA 51360                                                 Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $898.00
          Shooters Emporium                                                     Contingent
          1495 S Main St                                                        Unliquidated
          Romeo, MI 48065                                                       Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 23 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 40 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $44.00
          Stephen Germain                                                       Contingent
          821 Franklin St                                                       Unliquidated
          Worcester, MA 01604                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Stond Rose                                                            Contingent
          1080 Amberton Ln                                                      Unliquidated
          Newbury Park, CA 91320                                                Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $475.00
          Taylor Gun Sales                                                      Contingent
          PO Box 73                                                             Unliquidated
          Spillville, IA 52168                                                  Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Teresa Reynolds                                                       Contingent
          48 W Cumberland                                                       Unliquidated
          Martinsville, IL 62442                                                Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $114.00
          Thomas Fang                                                           Contingent
          11 s wille 408                                                        Unliquidated
          mt prospect, IL 60056                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Thomas Koh                                                            Contingent
          2536 Fairfax Dr #A                                                    Unliquidated
          Arlington, VA 22201                                                   Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Tim Miller                                                            Contingent
          1536 Deer Moss Court                                                  Unliquidated
          Gulf Breeze, FL 32563                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 24 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 41 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Todd Bixby                                                            Contingent
          3637 Highway 332                                                      Unliquidated
          Hoschton, GA 30548                                                    Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $599.00
          Tony Cangelosi                                                        Contingent
          6965 E Country Highlands Dr                                           Unliquidated
          Floral City, FL 34436                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Tony Cangelosi                                                        Contingent
          6965 E Country Highlands Dr                                           Unliquidated
          Floral City, FL 34436                                                 Disputed
          Date(s) debt was incurred 04/03/20
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15.00
          Tre Lytle                                                             Contingent
          5817 nystrom st                                                       Unliquidated
          New Carrollton, MD 20784                                              Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $299.00
          Tyler Gregory                                                         Contingent
          22306 Tees Terrace                                                    Unliquidated
          Ashburn, VA 20148                                                     Disputed
          Date(s) debt was incurred      03/27/20                            Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $569.00
          Tyler Waylett                                                         Contingent
          804 Getchell Street                                                   Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred      2020                                Basis for the claim:    Customer - order not shipped
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $449.00
          Walter Keller                                                         Contingent
          Address unknown                                                       Unliquidated
          Date(s) debt was incurred      2020                                   Disputed
          Last 4 digits of account number                                    Basis for the claim:    Customer - order not shipped
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 25 of 26
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                            Page 42 of 70

 Debtor       Full Conceal Inc                                                                        Case number (if known)
              Name

 3.171     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $399.00
           William Driver                                                       Contingent
           4051 27th Street N                                                   Unliquidated
           Arlington, VA 22203                                                  Disputed
           Date(s) debt was incurred     04/03/20                            Basis for the claim:    Customer - order not shipped
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.172     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $399.00
           William Dyer                                                         Contingent
           5391 Saratoga Ave                                                    Unliquidated
           Milton, FL 32570                                                     Disputed
           Date(s) debt was incurred     04/03/20                            Basis for the claim:    Customer - order not shipped
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.173     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $599.00
           Yacob Chernet                                                        Contingent
           3120 Woodlane Ct                                                     Unliquidated
           Indianapolis, IN 46268                                               Disputed
           Date(s) debt was incurred 2020
                                                                             Basis for the claim:    Customer - order not shipped
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.174     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,347.00
           Z Hanging Spur LLC                                                   Contingent
           10979 724 RD                                                         Unliquidated
           Oxford, NE 68967                                                     Disputed
           Date(s) debt was incurred     2020                                Basis for the claim:    Customer - order not shipped
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.175     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $449.00
           Ziaire Clasper                                                       Contingent
           Address unknown                                                      Unliquidated
           Date(s) debt was incurred     2020                                   Disputed
           Last 4 digits of account number                                   Basis for the claim:    Customer - order not shipped
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       120,000.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       339,448.45

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          459,448.45




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 26 of 26
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                        Case 20-15116-nmc                            Doc 1   Entered 10/13/20 13:35:29             Page 43 of 70

 Fill in this information to identify the case:

 Debtor name         Full Conceal Inc

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Sublease for 175
             lease is for and the nature of               Cassia Way, #A1114,
             the debtor's interest                        Henderson NV 89014
                                                          (no money owed - for
                                                          FFL purposes only)
                  State the term remaining
                                                                                      Full Conceal Mfg LLC
             List the contract number of any                                          175 Cassia Way, #A1114
                   government contract                                                Henderson, NV 89014




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                        Case 20-15116-nmc                            Doc 1   Entered 10/13/20 13:35:29          Page 44 of 70

 Fill in this information to identify the case:

 Debtor name         Full Conceal Inc

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                       Name                        Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                      State      Zip Code




Official Form 206H                                                               Schedule H: Your Codebtors                                   Page 1 of 1
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                        Case 20-15116-nmc                            Doc 1     Entered 10/13/20 13:35:29                       Page 45 of 70




 Fill in this information to identify the case:

 Debtor name         Full Conceal Inc

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                               $167,000.00
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $1,432,104.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $2,966,677.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                           Dates               Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                        Case 20-15116-nmc                            Doc 1     Entered 10/13/20 13:35:29                       Page 46 of 70
 Debtor       Full Conceal Inc                                                                          Case number (if known)



       Creditor's Name and Address                                           Dates               Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Howard & Howard Attorneys PLLC                                7/24/2020                      $15,085.84                Secured debt
               3800 Howard Hughes Pkwy                                       7/24/2020                                                Unsecured loan repayments
               Suite 1000                                                    10/8/2020                                                Suppliers or vendors
               Las Vegas, NV 89169                                           10/9/2020
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                            Dates               Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Steve Pantalemon                                              March 2020                     $78,738.00           Unauthorized withdrawal
               4525 Dean Martin Dr Apt 1212
               Las Vegas, NV 89103
               Shareholder and former officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Full Conceal Inc vs. Steve                        Breatch of duty,           Eighth District Court                          Pending
               Pantalemon                                        conversion, etc.                                                          On appeal
               A-20-813641-C
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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                        Case 20-15116-nmc                            Doc 1       Entered 10/13/20 13:35:29                     Page 47 of 70
 Debtor        Full Conceal Inc                                                                             Case number (if known)



           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                     Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss      Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Customer shipments                                        None                                                       March-APril             $10,000.00
                                                                                                                            2020


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Atkinson Law Associates Ltd.
                 376 E Warm Springs Rd Suite
                 130
                 Las Vegas, NV 89119                                 Attorney Fees                                             10/1/2020              $2,850.00

                 Email or website address
                 bknotices@nv-lawfirm.com

                 Who made the payment, if not debtor?




       11.2.     Howard & Howard Attorneys,
                 PLLC
                 3800 Howard Hughes Pkwy
                 Suite 1000
                 Las Vegas, NV 89169                                                                                           10/8/2020              $8,000.00

                 Email or website address


                 Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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                        Case 20-15116-nmc                            Doc 1     Entered 10/13/20 13:35:29                       Page 48 of 70
 Debtor        Full Conceal Inc                                                                          Case number (if known)




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value
       13.1 Full Conceal Mfg LLC
       .    175 Cassia Way Ste #A1114                            Machinery sold for approximate market
                Henderson, NV 89014                              value                                                   August 2019                  $22,510.00

                Relationship to debtor
                None


       13.2 Unknown (went through
       .    escrow)
                                                                 VM3 machine                                             July 2020                    $47,000.00

                Relationship to debtor
                Unknown


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     4325 Dean Martin Dr., Ste. #325                                                                           Mar 2017 to Aug 2017
                 Las Vegas, NV 89103

       14.2.     4325 Dean Martin Dr., Ste. #350                                                                           Aug 2017 to Aug 2019
                 Las Vegas, NV 89103

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                        Page 49 of 70
 Debtor      Full Conceal Inc                                                                           Case number (if known)




 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was             Last balance
               Address                                           account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                        Page 50 of 70
 Debtor      Full Conceal Inc                                                                           Case number (if known)




      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Danny Dodiya
                    India (outsourced accounting)

       26a.2.       Carol T. Lechner
                    7545 Oso Blanca Rd. #1189
                    Las Vegas, NV 89149

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                        Page 51 of 70
 Debtor      Full Conceal Inc                                                                           Case number (if known)



       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Prestige Accounting
                    11740 Dublin Blvd Suite 200
                    Dublin, CA 94568
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Michael Matthews
                    2620 Regatta Dr., Suite 102
                    Las Vegas, NV 89128
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.3.       Campbell Jones Cohen CPAs
                    7848 West Sahara Ave
                    Las Vegas, NV 89117

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Prestige Accounting
                    11740 Dublin Blvd Suite 200
                    Dublin, CA 94568
       26c.2.       Danny Dodiya
                    India (outsourced accounting)

       26c.3.       Michael Full
                    4651 Valley Vista Dr
                    Dublin, CA 94568

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Leeor Engelstein (done verbally)
       .                                                                                    Feb 2020

                Name and address of the person who has possession of
                inventory records
                Leeor Engelstein
                c/o Full Conceal Mfg LLC
                175 Cassia Way Ste A1114
                Henderson, NV 89014


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                        Page 52 of 70
 Debtor       Full Conceal Inc                                                                          Case number (if known)



       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Michael Full                                   4651 Valley Vista Dr                                Sole director and officer             51%
                                                      Dublin, CA 94568



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Steve Pantalemon                               4525 Dean Martin Drive Apt 1212                     Former officer and               Resigned
                                                      Las Vegas, NV 89103                                 director                         3/30/2020


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1                                                                                                                                Withdrew funds
       .                                                                                                                                   without
                                                                                                                                           authorization,
                                                                                                                                           claiming for
                                                                                                                                           unapproved
                                                                                                                                           deferred salary,
                                                                                                                                           unapproved
               Steve Pantalemon                                                                                                            expenses, and
               4525 Dean Martin Drive Apt                                                                                                  unapproved
               1212                                                                                                                        personal
               Las Vegas, NV 89103                               $78,738                                                 March 2020        distribution

               Relationship to debtor
               Former officer


       30.2                                                                                                                                Michael had been
       .                                                                                                                                   working without
               Michael Full                                                                                                                drawing any
               4651 Valley Vista Dr                                                                                      4/16/2020 to      salary for over a
               Dublin, CA 94568                                  2 months' salary                                        6/22/2020         year

               Relationship to debtor
               Officer, director, and majority
               shareholder


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29                        Page 53 of 70
 Debtor      Full Conceal Inc                                                                           Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 13, 2020

 /s/ Michael Full                                                       Michael Full
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29            Page 54 of 70
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re       Full Conceal Inc                                                                                 Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,850.00
             Prior to the filing of this statement I have received                                        $                     2,850.00
             Balance Due                                                                                  $                        0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Per fee agreement.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Per fee agreement.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 13, 2020                                                               /s/ Robert Atkinson
     Date                                                                           Robert Atkinson 9958
                                                                                    Signature of Attorney
                                                                                    Atkinson Law Associates Ltd.
                                                                                    376 E Warm Springs Rd Suite 130
                                                                                    Las Vegas, NV 89119
                                                                                    (702) 614-0600 Fax: (702) 614-0647
                                                                                    bknotices@nv-lawfirm.com
                                                                                    Name of law firm




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                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29   Page 55 of 70




                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      Full Conceal Inc                                                                         Case No.
                                                                                    Debtor(s)        Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       October 13, 2020                                            /s/ Michael Full
                                                                         Michael Full/CEO
                                                                         Signer/Title




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    Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 56 of 70



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                  Full Conceal Inc
                  4651 Valley Vista Drive
                  Dublin, CA 94568

                  Robert Atkinson
                  Atkinson Law Associates Ltd.
                  376 E Warm Springs Rd Suite 130
                  Las Vegas, NV 89119

                  Abide Armory
                  3009B N State Route 89
                  Prescott, AZ 86301

                  Adam Thomas
                  3390 Abbie ln
                  Battle mountain, NV 89820

                  Advanced Weapons
                  2149 Freemont Dr
                  Canon City, CO 81212

                  Alex Harding
                  497 Melvin Avenue
                  Morrisville, PA 19067

                  Alex Martin
                  9212 se retreat dr
                  hobe sound, FL 33455

                  Alhareth AlSalman
                  23314 nocturnal ct
                  Katy, TX 77493

                  American Express National Bank
                  Acct No 52741627910207662100
                  c/o: Datamark Inc.
                  Attn: Merchant Financing Counsel
                  43 Butterfield Circle
                  EL Paso, TX 79906

                  ANDREW DORMAN
                  Papa Foxtrot Tactical LLC 2303 Highway 1
                  Galivants Ferry, SC 29544-6831

                  Andrew Hernandez
                  14025 Fairway Island Dr. 325
                  Orlando, FL 32837

                  Andrew Obrist
                  4938 Juno Road
                  Virginia Beach, VA 23455

                  Andrew Papp
                  112 Beaumont dr
                  Dahlonega, GA 30533
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 57 of 70




              Andrew Waller
              3241 South Mount Carmel Avenue
              Wichita, KS 67217

              Anthony Cellana
              KT Arms LLC 291 NW 48th Ave
              DEERFIELD BEACH, FL 33442

              Apple & Sons Saunders Ace Hardware
              202 PIEDMONT ST
              REIDSVILLE, NC 27320

              Arianna Monin
              3661 Glasstop Dr
              Las Vegas, NV 89141

              Arrow Security Inc.
              15410 N 67 Ave
              Glendale, AZ 85306

              Ben Bushong
              427 Hannah Road
              Daleville, AL 36322

              Bill Hicks
              15155 23rd Avenue North
              Plymouth, MN 55447

              Bloodhound Arms, LLC
              140 Commonwealth Drive
              Warrendale, PA 15086

              Brandon Barbee
              PO Box 456
              Center, TX 75935

              Brandon Carriere
              4435 MEADOW BROOK WAY
              Lake Charles, LA 70607

              Brandon Yanskey
              520 Geary Dr
              Rockwall, TX 75087

              Brian Barmmer
              entensiv 68 Virginia Farme Ln
              Carlisle, MA 01741

              Brian Wensel
              4109 S Roberts Rd
              Fort Mohave, AZ 86426

              Bryan Oudomsouk
              504 Lutie CT
              Nashville, TN 37210
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 58 of 70




              California Franchise Tax Board
              Bankruptcy Section, MS A340
              P.O. Box 2952
              Sacramento, CA 95812-2952

              California State Board of Equalization
              Account Information Group, MIC: 29
              P.O. Box 942879
              Sacramento, CA 94279

              Carl Guething
              1700 W 67th Ave
              Denver, CO 80221

              Carlton McCord
              27845 Moran St
              Harrison Township, MI 48045

              Charles Butkus
              3833 Peachtree Rd Ne Apt 1506
              Brookhaven, GA 30319

              Charles Moore
              6216 south lagoon Dr.
              Panama city bea, FL 32408

              Chris Culross
              75 Center St
              Laramie, WY 82072

              Christopher Galan
              157 Doris Dr
              Universal city, TX 78148

              Christopher Kam
              267 Mokauea st
              Honolulu, HI 96819

              Christopher Liston
              15 Mill Street
              Mays Landing, NJ 08330

              Christopher Meyer
              713 Virginia Ave
              Gallatin, TN 37066

              Christopher Polhemus
              419 Abigail Street
              Ridgecrest, CA 93555

              Christopher Sofich
              8717 SE Monterey Ave Unit 209
              Portland, OR 97086
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 59 of 70




              Citibank, N.A.
              Attn: Centralized Bankruptcy
              PO Box 20507
              Kansas City, MO 64195

              Collin Orizu
              989 S Buchanan St Unit 210
              Arlington, VA 22204

              CV Property Management
              4520 36th Ave S
              Fargo, ND 58104

              Dallas Hill
              1979 12212 Anne Kenia Dr.
              Thonotosassa, FL 33592

              Dan Kremer
              3839 Treebrook Dr
              Imperial, MO 63052

              Danele Williams
              1117 South Bloodworth Street
              Raleigh, NC 27601

              Daniel Crall
              59 Hathorn Blvd.
              Saratoga Springs, NY 12866

              Daniel Gambella
              5 Ladder Court
              Huntington, NY 11743

              Daniel Nelson
              Address unknown

              Daniel Sotelo
              3108 W LOUISIANA AVE
              Midland, TX 79701

              Darren Harrell
              131 Jowers Road
              West Monroe, LA 71291

              Darren Harrell
              131 Jowers Road
              West Monroe, LA 71291

              dave licht
              6735 cascade manor dr
              sugar land, TX 77479

              David Cathcart
              6200 Pershing Ave Apt 378
              Fort Worth, TX 76116
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 60 of 70




              David Harris
              10004 Wurzbach Rd #321
              San Antonio, TX 78230

              Derek Holbrook
              P.O. Box 455
              Oak Harbor, WA 98277

              Desert Weaponry
              11364 E Prince Rd
              Tucson, AZ 85749

              Dillon Point
              575 State Route 37
              Akwesasne, NY 13655

              Doug Wight (Gold Ring Pawn)
              445 Main St
              Silt, CO 81652

              Dre Mill
              2666 morrow place
              Cincinnati, OH 45204

              Dutch Hillelburg
              7039 Signal Hill Rd
              Manassas, VA 20111

              Eddie Colameta
              495 Broadway
              Malden, MA 02148

              Eddie E Walker Jr
              468 Oak Ridge Estates
              Murphy, NC 28906

              Eion Hughes
              274 Elkins Road
              Rogersville, TN 37857

              Elite Firearms
              6985 W Sahara Ave
              Las Vegas, NV 89117

              Endicia
              323 N Mathilda Ave
              Sunnyvale, CA 94085

              Eric Berrett
              3305 Westwood Industrial Dr
              Monroe, NC 28110

              Eric Hernandez
              635 Voiles Street
              Brighton, CO 80601
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 61 of 70




              ERICH VINCENT
              PO BOX 23666
              PLEASANT HILL, CA 94523

              Erik Fortin
              568 Station Road
              Mount Holly, VT 05758

              ETS
              PO Box 2889
              South Bend, IN 46680

              Frank Hodne
              8174 N Union Church Rd
              Milford, DE 19963

              Frog Bones Family Shooting Center
              404 S Harbor City Blvd
              Melbourne, FL 32901

              Full Conceal Mfg LLC
              175 Cassia Way, #A1114
              Henderson, NV 89014

              George Turner
              G.O.T. Fitness
              Pottstown, PA 19464

              Greg Conran
              20538 Tanager Place
              Leesburg, VA 20175

              Greg Komassa
              1116 Harding Road
              Anthony, NM 88021

              Gregory Conran
              20538 tanager place
              Leesburg, VA 20175

              Herbert Pan
              415 Cloverdale Ln
              Walnut, CA 91789

              Howard & Howard Attorneys PLLC
              3800 Howard Hughes Pkwy #1000
              Las Vegas, NV 89169

              Howard Steven Leight
              3200 Airport Ave
              Santa Monica, CA 90405

              Iho Tree
              2754 Richardson St
              Fitchburg, WI 53711
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 62 of 70




              Internal Revenue Service
              Centralized Insolvency
              PO Box 7346
              Philadelphia, PA 19101-7346

              Isaiah Warren
              42 Rose Hill Dr.
              Jackson, TN 38301

              Jack Crouch
              6063 Via De Los Arboles
              El Paso, TX 79932

              James Alaniz
              11708 W Red Hawk Dr
              Peoria, AZ 85385

              James Carte
              16355 East Brown dr
              Aurora, CO 80013

              James Jones
              44 Summerfield Dr.
              FISHERSVILLE, VA 22939

              James Plante
              2620 South Maryland Parkway
              Las Vegas, NV 89109

              James Rodriguez
              pathway communications 520 linda dr Apt.
              San Marcos, TX 78666

              Jason Allmon
              7800 Mockingbird Lane lot 123
              North Richland Hills, TX 76180

              Jason Staads
              3247 Central Ave NE
              Minneapolis, MN 55418

              Jason Thiede
              532 South Miami Street
              West Milton, OH 45383

              Jeff Schabowski
              W225 S4839 Guthrie Rd
              Waukesha, WI 53189

              Jeffrey Smith
              Quick splash mobile car wash
              Hampton, GA 30228
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 63 of 70




              Joe Hess
              2201 Ramsgate Dr
              Henderson, NV 89074

              Joe Taylor
              PO Box 73
              Spillville, IA 52168

              John Barnes
              1230 Lumpkin Rd
              Houston, TX 77043

              John Lawrentz
              7400 State Route 685
              Glouster, OH 45732-9298

              John Wylie
              2709 North Benton Place
              Oak Harbor, WA 98277

              Jon Conger
              3942 w 79th street
              Indianapolis, IN 46268

              jordan bryant
              2342 castlecomer dr
              Charlotte, NC 28262

              Jordan Pries
              917 WASHINGTON AVE
              Bay city, MI 48708

              Jose Avila
              908 N Inglewood ave, Apt. 4
              Inglewood, CA 90302

              joshua gordon
              4971 nw ever road
              port saint lucie, FL 34983

              Joshua Miranda
              603 205th st E.
              spanaway, WA 98387

              Jr HOLYFIELD
              38 Lynn Drive
              Oxford, AL 36203

              Kelvin Joseph
              6019 103rd street
              Lubbock, TX 79424

              Kevin Geiling
              28920 NE 124th ST
              Duvall, WA 98019
Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 64 of 70




              KEVIN MCKAY
              6940 REGATTA DR
              GRAND PRAIRIE, TX 75054

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Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 65 of 70




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Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 66 of 70




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Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 67 of 70




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Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 68 of 70




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Case 20-15116-nmc   Doc 1   Entered 10/13/20 13:35:29   Page 69 of 70




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              Oxford, NE 68967

              Ziaire Clasper
              Address unknown
                        Case 20-15116-nmc                            Doc 1    Entered 10/13/20 13:35:29        Page 70 of 70




                                                               United States Bankruptcy Court
                                                                             District of Nevada
 In re      Full Conceal Inc                                                                               Case No.
                                                                                    Debtor(s)              Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Full Conceal Inc in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 13, 2020                                                      /s/ Robert Atkinson
 Date                                                                  Robert Atkinson 9958
                                                                       Signature of Attorney or Litigant
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